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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF VIRGINIA
                                        Alexandria Division


       OSAMA ABU IRSHAID, et al.,

                               Plaintiffs,

                 v.                                            No. 1:24-cv-1405 (MSN/WBP)

       PAMELA BONDI, United States Attorney
       General, et al.,

                               Defendants.


                                                    ANSWER

            Pursuant to Federal Rule of Civil Procedure 8, Defendants Pamela Bondi, United States

   Attorney General; Kash Patel, Director, Federal Bureau of Investigation; Michael Glasheen, Director,

   Threat Screening Center; Kristi Noem, Secretary, U.S. Department of Homeland Security; Pete R.

   Flores, Acting Commissioner, U.S. Customs and Border Protection; and Ha Nguyen McNeill, Acting

   Administrator, Transportation Security Administration (collectively, “Defendants”),1 through

   undersigned counsel, respectfully answer Plaintiffs’ amended complaint (Dkt. 19) as follows:

                                               INTRODUCTION2

            1.        Defendants lack information sufficient to form a belief as to the truth of the allegations

   in this paragraph concerning Dr. Abu Irshaid and, on that basis, deny them. The remaining allegations


   1
     Pursuant to Federal Rule of Civil Procedure 25(d), these federal officers have been substituted for
   their predecessors as defendants in this action. The remaining defendants named in the amended
   complaint have been dismissed from this action. See Dkt. 30 at 33.
   2
    Defendants include the headings from the amended complaint for clarity only. The inclusion of those
   headings in this answer should not be construed as an admission of any kind by Defendants. In
   addition, the amended complaint begins with an introductory paragraph, to which no response is
   required. To the extent that a response is required, Defendants deny any allegations of wrongdoing
   and further deny that Plaintiffs are entitled to any of the relief they seek in this action.
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   in this paragraph concern parties whose claims have been dismissed. See Dkt. 30. Accordingly, no

   response is required.

          2.      The allegations in this paragraph concern parties whose claims have been dismissed.

   See Dkt. 30. Accordingly, no response is required.

          3.      Defendants lack information sufficient to form a belief as to the truth of the allegations

   in this paragraph concerning Dr. Abu Irshaid and, on that basis, deny them. The remaining allegations

   in this paragraph concern parties whose claims have been dismissed. See Dkt. 30. Accordingly, no

   response is required.

          4.      To the extent that this paragraph reflects the watchlist status of Plaintiff Abu Irshaid,

   Defendants neither admit nor deny the allegations because that information is protected by statute

   and privileges. The remaining allegations in this paragraph concern parties whose claims have been

   dismissed. See Dkt. 30. Accordingly, no response is required.

          5.      To the extent that this paragraph reflects the watchlist status of Plaintiff Abu Irshaid,

   Defendants neither admit nor deny the allegations because that information is protected by statute

   and privileges. The remaining allegations in this paragraph concern parties whose claims have been

   dismissed. See Dkt. 30. Accordingly, no response is required.

          6.      Defendants admit only that CBP may ask questions on a variety of topics in the course

   of its law enforcement and national security mission. The remaining allegations in the paragraph

   constitute characterizations of the action, to which no response is required. The remaining allegations

   in this paragraph also concern parties whose claims have been dismissed. See Dkt. 30. Accordingly, no

   response is required.

          7.      To the extent that this paragraph reflects the watchlist status of Plaintiff Abu Irshaid,

   Defendants neither admit nor deny the allegations because that information is protected by statute

   and privileges. The remaining allegations in this paragraph concern parties whose claims have been

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   dismissed or claims that have been dismissed. See Dkt. 30. Accordingly, no response is required. To

   the extent a response is required, these remaining allegations are denied.

            8.    Defendants deny that the federal government has possession of Dr. Abu Irshaid’s

   phone.

            9.    The allegations in this paragraph concern a party whose claims have been dismissed.

   See Dkt. 30. Accordingly, no response is required.

            10.   The allegations in this paragraph concern a party whose claims have been dismissed.

   See Dkt. 30. Accordingly, no response is required.

            11.   The allegations in this paragraph concern a party whose claims have been dismissed.

   See Dkt. 30. Accordingly, no response is required.

            12.   The allegations in this paragraph concern a party whose claims have been dismissed.

   See Dkt. 30. Accordingly, no response is required.

            13.   The allegations in this paragraph concern a party whose claims have been dismissed.

   See Dkt. 30. Accordingly, no response is required.

            14.   Denied as to the allegations regarding Dr. Abu Irshaid. The remaining allegations in

   this paragraph concern parties whose claims have been dismissed. See Dkt. 30. Accordingly, no

   response is required.

                                                 PARTIES

   Plaintiffs

            15.   Defendants lack information sufficient to form a belief as to the truth of the allegations

   in the first sentence of this paragraph and, on that basis, deny them. The allegations in the second

   sentence of this paragraph constitute legal conclusions to which no response is required.

            16.   The allegations in this paragraph concern a party whose claims have been dismissed.

   See Dkt. 30. Accordingly, no response is required.

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          17.     The allegations in this paragraph concern a party whose claims have been dismissed.

   See Dkt. 30. Accordingly, no response is required.

          18.     The allegations in this paragraph concern a party whose claims have been dismissed.

   See Dkt. 30. Accordingly, no response is required.

          19.     The allegations in this paragraph concern a party whose claims have been dismissed.

   See Dkt. 30. Accordingly, no response is required.

          20.     The allegations in this paragraph concern a party whose claims have been dismissed.

   See Dkt. 30. Accordingly, no response is required.

   Defendant Merrick Garland

          21.     Denied. Pamela Bondi is the United States Attorney General.

          22.     Denied.

          23.     With respect to the first sentence, Defendants admit only that DOJ employees and

   officials may attend WLAC meetings. The remaining allegations in this paragraph are denied.

          24.     Defendants admit only that certain DOJ components are authorized to make

   nominations to TSDS. To the extent that this paragraph reflects the watchlist status of particular

   individuals, Defendants neither admit nor deny the allegations because that information is protected

   by statute and privileges. Defendants lack information sufficient to admit or deny Plaintiffs’ averments

   regarding “similarly situated individuals,” and on that basis deny them. The remaining allegations in

   this paragraph concern parties whose claims have been dismissed. See Dkt. 30. Accordingly, no

   response is required.

          25.      To the extent that this paragraph reflects the watchlist status of particular individuals,

   Defendants neither admit nor deny the allegations because that information is protected by statute

   and privileges. With respect to the averments regarding “other similarly situated individuals,”

   Defendants lack information sufficient to admit or deny. Defendants admit only that TSC supports

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   DHS TRIP by helping to resolve inquiries which may appear to be related to data in the TSDS, and

   that DHS TRIP provides redress to individuals for travel-related difficulties, including watchlist issues.

   To the extent that the allegations in this paragraph concern parties whose claims have been dismissed,

   see Dkt. 30, no response is required.

           26.     Defendants neither confirm nor deny the allegations in this paragraph, as that

   information is protected by statute and privileges.

           27.     Defendants neither confirm nor deny the allegations in this paragraph, as that

   information is protected by statute and privileges.

           28.     The allegations in this paragraph constitute Plaintiffs’ characterization of the claims in

   this action. Accordingly, no response is required.

   Defendant Christopher Wray

           29.     Denied. Kash Patel is the Director of the Federal Bureau of Investigation.

           30.     Admitted except that the TSC is now referred to as the Threat Screening Center.

           31.     With regard to the first sentence, Defendants admit only that certain FBI employees

   and officials attend WLAC meetings. The remaining allegations in this paragraph are denied.

           32.     Defendants admit only that the FBI is authorized to make nominations to TSDS. To

   the extent that this paragraph reflects the watchlist status of particular individuals, Defendants neither

   admit nor deny the allegations because that information is protected by statute and privileges. With

   respect to the averments regarding “other similarly situated American citizens,” Defendants lack

   information sufficient to admit or deny. The remaining allegations in this paragraph concern parties

   whose claims have been dismissed. See Dkt. 30. Accordingly, no response is required.

           33.     Defendants admit that nominations of known or suspected international terrorists are

   submitted by federal departments and agencies and are processed through the National

   Counterterrorism Center. Defendants further admit that the FBI is responsible for all nominations

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   of known or suspected domestic terrorists, and submits those domestic terrorist identity nominations

   directly to the TSC. The remaining allegations are denied.

          34.     With respect to the averments regarding “other similarly situated American citizens,”

   Defendants lack information sufficient to admit or deny. The remaining allegations in this paragraph

   are otherwise denied.

          35.      Defendants admit that the National Crime Information Center (NCIC) is a national

   criminal justice information system, operated by the FBI’s Criminal Justice Information Services

   Division, that facilitates the sharing of criminal justice information among criminal justice agencies

   and other authorized entities. The remaining allegations are denied.

          36.     To the extent that this paragraph reflects the watchlist status of particular individuals,

   Defendants neither admit nor deny the allegations because that information is protected by statute

   and privileges. With respect to the averments regarding “other similarly situated individuals,”

   Defendants lack information sufficient to admit or deny. Defendants admit only that some subsets

   of the TSDB are exported to the NCIC, a database to which criminal justice agencies and other

   authorized entities have access. The remaining allegations in this paragraph concern parties whose

   claims have been dismissed. See Dkt. 30. Accordingly, no response is required.

          37.     To the extent that this paragraph reflects the watchlist status of particular individuals,

   Defendants neither admit nor deny the allegations because that information is protected by statute

   and privileges. With respect to the averments regarding “other similarly situated individuals,”

   Defendants lack information sufficient to admit or deny. Defendants admit only that TSC exports

   subsets of TSDS data to certain foreign governments with which TSC has entered into foreign partner

   arrangements; that certain TSA and TSC contractors have access to TSDB information in their

   capacity as TSA or TSC staff; and that some subsets of the TSDS are exported to the NCIC, a database

   to which criminal justice agencies and other authorized entities have access. The remaining allegations

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   in this paragraph concern parties whose claims have been dismissed. See Dkt. 30. Accordingly, no

   response is required.

           38.      To the extent that this paragraph reflects the watchlist status of particular individuals,

   Defendants neither admit nor deny the allegations because that information is protected by statute

   and privileges. With respect to the averments regarding “other similarly situated individuals,”

   Defendants lack information sufficient to admit or deny. Defendants admit only that TSC supports

   DHS TRIP by helping to resolve inquiries which may appear to be related to data in the TSDS, and

   that DHS TRIP provides redress to individuals for travel-related difficulties, including watchlist issues.

   To the extent the allegations in this paragraph concern parties whose claims have been dismissed, see

   Dkt. 30, no response is required.

           39.      Defendants admit only that the FBI uses TSDS information for FBI investigative

   purposes. The remaining allegations are denied.

           40.     The allegations in this paragraph constitute Plaintiffs’ characterization of the claims in

   this action. Accordingly, no response is required.

   Defendant Mihael [sic] Glasheen

           41.     Admitted except that the TSC is now referred to as the Threat Screening Center.

           42.     Admitted as to the first clause before the comma, denied as to the remaining

   allegations in this paragraph.

           43.     Admitted.

           44.     To the extent that this paragraph reflects the watchlist status of Plaintiff Abu Irshaid,

   Defendants neither admit nor deny the allegations because that information is protected by statute

   and privileges. The remaining allegations in this paragraph concern parties whose claims have been

   dismissed. See Dkt. 30. Accordingly, no response is required.




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          45.     As to the first sentence of this paragraph, admitted. As to the second sentence, to the

   extent that this paragraph reflects the watchlist status of Plaintiff Abu Irshaid, Defendants neither

   admit nor deny the allegations because that information is protected by statute and privileges.

   Defendants lack information sufficient to admit or deny Plaintiffs’ averments regarding “similarly

   situated American citizens,” and otherwise deny the remaining allegations. The remaining allegations

   in this paragraph concern parties whose claims have been dismissed. See Dkt. 30. Accordingly, no

   response is required.

          46.     Denied.

          47.     Denied.

          48.     The allegations in this paragraph constitute Plaintiffs’ characterization of the claims in

   this action. Accordingly, no response is required.

   Defendant Ronald Rowe

          49.     The allegations in this paragraph concern a party against whom all claims have been

   dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

          50.     The allegations in this paragraph concern a party against whom all claims have been

   dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

          51.     The allegations in this paragraph concern a party against whom all claims have been

   dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

          52.     The allegations in this paragraph concern a party against whom all claims have been

   dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

   Defendant Matthew Olsen

          53.     The allegations in this paragraph concern a party against whom all claims have been

   dismissed. See Dkt. 30 at 33. Accordingly, no response is required.




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          54.     The allegations in this paragraph concern a party against whom all claims have been

   dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

          55.     The allegations in this paragraph concern a party against whom all claims have been

   dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

          56.     The allegations in this paragraph concern a party against whom all claims have been

   dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

          57.     The allegations in this paragraph concern a party against whom all claims have been

   dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

   Defendant Susan Davies

          58.     The allegations in this paragraph concern a party against whom all claims have been

   dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

          59.     The allegations in this paragraph concern a party against whom all claims have been

   dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

          60.     The allegations in this paragraph concern a party against whom all claims have been

   dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

          61.     The allegations in this paragraph concern a party against whom all claims have been

   dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

          62.     The allegations in this paragraph concern a party against whom all claims have been

   dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

   Defendant Peter Winn

          63.     The allegations in this paragraph concern a party against whom all claims have been

   dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

          64.     The allegations in this paragraph concern a party against whom all claims have been

   dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

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        65.     The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        66.     The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        67.     The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

 Defendant Avril Haines

        68.     The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        69.     The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        70.     The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        71.     The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        72.     The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        73.     The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

 Defendant Brett Holmgren

        74.     The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        75.     The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

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        76.     The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        77.     The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        78.     The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        79.     The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        80.     The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        81.     The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        82.     The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

 Defendant Alejandro Mayorkas

        83.     Denied. Kristi Noem is the Secretary of Homeland Security.

        84.     Denied.

        85.     Denied.

        86.     Defendants neither confirm nor deny the allegations in this paragraph as they pertain

 to Plaintiff Abu Irshaid, because that information is protected by statute and privileged. The remaining

 allegations in this paragraph concern parties whose claims have been dismissed. See Dkt. 30.

 Accordingly, no response is required.

        87.      Defendants lack sufficient information to admit or deny the allegations in the first

 sentence of this paragraph. Defendants deny the allegations in the second sentence of this paragraph

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 with respect to Plaintiff Abu Irshaid. With respect to the averments regarding “other similarly situated

 American citizens,” Defendants lack information sufficient to admit or deny.             The remaining

 allegations in this paragraph concern parties whose claims have been dismissed. See Dkt. 30.

 Accordingly, no response is required.

         88.     Denied.

         89.     Defendants admit that DHS maintains the DHS Automated Biometric Identification

 System (IDENT), a system of biometric and associated biographic records, which may include TSDS

 records. The TSDS is administered by the Threat Screening Center and provides terrorism screening

 information to U.S. Government screening and vetting agencies for appropriate and lawful use in

 accordance with their authorities. The rest of the allegations in this paragraph constitute Plaintiffs’

 characterization of the claims in this action. Accordingly, no response is required.

         90.     Denied.

         91.     The allegations in this paragraph constitute Plaintiffs’ characterization of the claims in

 this action. Accordingly, no response is required.

 Defendant Troy Miller

         92.     Denied. Pete R. Flores is the Acting Commissioner of U.S. Customs and Border

 Protection.

         93.     Denied.

         94.     Defendants can neither admit nor deny the allegations in this paragraph, as the

 information at issue is protected from disclosure by statute and privileges.            Defendants lack

 information sufficient to admit or deny Plaintiffs’ averments regarding “similarly situated American

 citizens.” The remaining allegations in this paragraph concern parties whose claims have been

 dismissed. See Dkt. 30. Accordingly, no response is required.




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         95.      To the extent that these allegations reflect the watchlist status of Plaintiff Abu Irshaid,

 Defendants neither admit nor deny the allegations because that information is protected by statute

 and privileges. Defendants lack information sufficient to admit or deny Plaintiffs’ averments regarding

 “similarly situated American citizens,” and otherwise deny the remaining allegations. The remaining

 allegations in this paragraph concern parties whose claims have been dismissed. See Dkt. 30.

 Accordingly, no response is required.

         96.     Defendants admit that CBP participates in the review of inquiries submitted through

 the DHS TRIP process. Defendants deny the remaining allegations in this paragraph including that

 DHS TRIP is the only administrative complaint process to challenge nominations to the TSDS.

         97.     Defendants neither confirm nor deny these allegations, as this information is protected

 by statute and privileges.

         98.     Defendants admit that a review of historic TECS records may contain information of

 an individual’s historic watchlist status. Defendants deny the allegations in the second sentence.

         99.     The allegations in this paragraph constitute Plaintiffs’ characterization of the claims in

 this action. Accordingly, no response is required.

 Defendant David Pekoske

         100.    Denied.

         101.     Defendants neither confirm nor deny the allegations in this paragraph as they pertain

 to Plaintiff Irshaid, because that information is protected by statute and privileges. The remaining

 allegations in this paragraph concern parties whose claims have been dismissed. See Dkt. 30.

 Accordingly, no response is required.

         102.    Defendants deny the allegations in this paragraph as they pertain to Plaintiff Abu

 Irshaid. The remaining allegations in this paragraph concern parties whose claims have been

 dismissed. See Dkt. 30. Accordingly, no response is required.

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        103.    Defendants admit the allegations in the first sentence of this paragraph. Defendants

 deny the remaining allegations in this paragraph.

        104.    Defendants neither confirm nor deny the allegations in this paragraph as they pertain

 to Plaintiff Abu Irshaid, because that information is protected by statute and privileges. The remaining

 allegations in this paragraph concern parties whose claims have been dismissed. See Dkt. 30.

 Accordingly, no response is required.

        105.    Denied.

        106.    Denied.

        107.    The allegations in this paragraph constitute Plaintiffs’ characterization of the claims in

 this action. Accordingly, no response is required.

 Defendant Ur Jaddou

        108.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        109.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        110.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        111.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        112.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        113.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

 Defendant Patrick Lechleitner

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        114.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        115.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        116.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        117.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        118.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

 Defendant Shoba Wadhia

        119.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        120.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        121.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        122.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        123.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

 Defendant Kenneth Wainstein

        124.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

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        125.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        126.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        127.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        128.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        129.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

 Defendant Jonathan Meyer

        130.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        131.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        132.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        133.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        134.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

 Defendant Kelli Ann Burriesci

        135.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

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        136.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        137.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        138.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        139.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

 Defendant Mason Clutter

        140.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        141.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        142.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        143.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        144.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

 Defendant Shonnie Lyon

        145.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        146.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

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        147.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        148.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        149.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

 Defendant Antony Blinken

        150.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        151.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        152.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        153.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        154.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        155.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        156.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

 Defendant Hillary Batjer Johnson

        157.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

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        158.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        159.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        160.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        161.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        162.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

 Defendant Lloyd Austin

        163.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        164.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        165.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        166.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        167.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        168.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

 Defendant Paul Nakasone

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        169.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        170.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        171.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        172.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        173.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        174.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        175.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

 Defendant Scott Berrier

        176.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        177.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        178.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        179.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.




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        180.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        181.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

 Defendant Pete Buttigieg

        182.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        183.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        184.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        185.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        186.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

 Defendant Himamauli Das

        187.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        188.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        189.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        190.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

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 Defendant Andrea Gacki

        191.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        192.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        193.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        194.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        195.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

 Defendant William Burns

        196.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        197.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        198.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        199.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        200.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

        201.    The allegations in this paragraph concern a party against whom all claims have been

 dismissed. See Dkt. 30 at 33. Accordingly, no response is required.

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                                  JURISDICTION AND VENUE

        202.    The allegations in this paragraph constitute legal conclusions to which no response is

 required.

        203.    The allegations in this paragraph constitute legal conclusions to which no response is

 required.

        204.    The allegations in this paragraph constitute legal conclusions to which no response is

 required.

        205.    The allegations in this paragraph constitute legal conclusions to which no response is

 required.

        206.    The allegations in this paragraph constitute legal conclusions to which no response is

 required.

        207.    The allegations in this paragraph constitute legal conclusions to which no response is

 required.

                                    FACTUAL BACKGROUND

               The Federal Government’s Expansive TSDB Inclusion Standards
                      Capture Broad Categories of Innocent Travelers

        208.    Denied.

        209.    Denied.

        210.    Denied.

        211.    Admitted.

        212.    Defendants admit that CBP uses threshold targeting rules as part of its risk

 management and enforcement strategy to identify and assess potential threats to national security and

 public safety. These rules help CBP officers determine which individuals, cargo, and conveyances

 require additional scrutiny. Defendants deny the remaining allegations in this paragraph.

        213.    Admitted.
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         214.      Denied.

         215.      Denied.

         216.      Denied.

         217.      Denied.

         218.      The allegations in the first sentence of this paragraph constitute legal conclusions to

 which no response is required. Defendants deny the allegations in the second sentence of this

 paragraph.

         219.      Denied.

         220.      The allegations in this paragraph constitute legal conclusions, to which no response is

 required. To the extent a response is required, the allegations in this paragraph are denied.

         221.      To the extent that this paragraph reflects the watchlist status of any individual,

 Defendants neither admit nor deny the allegations because that information is protected by statute

 and privileges.

         222.      Admitted.

         223.      Denied.

         224.      The allegations in this paragraph constitute legal conclusions, to which no response is

 required.

         225.      Admitted.

         226.      Denied.

         227.      Defendant’s object to this allegation as vague, but notwithstanding this objection deny

 the allegations in this paragraph.

         228.      Denied.

         229.      As to the first two sentences, the allegations are denied, but to the extent related

 information is available at https://www.gao.gov/assets/gao-08-110.pdf, the document is the best

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 evidence of this information. The allegations in the third sentence of this paragraph purport to

 reference statements in a document. That document is the best evidence of its contents, and

 Defendants deny any inconsistent characterization.

           230.   Defendants neither admit nor deny the allegations in this paragraph because that

 information is protected by statute and privileges.

           231.   The allegations in this paragraph purport to quote statements made at a Senate

 Homeland Security Committee hearing. Those statements are the best evidence of their contents, and

 Defendants deny any inconsistent characterization.

           232.   Denied.

           233.   The allegations in this paragraph purport to reference statements in a document. That

 document is the best evidence of its contents, and Defendants deny any inconsistent characterization.

           234.   Defendants lack information sufficient to admit or deny the allegations in this

 paragraph. To the extent that an answer is required, Defendants can neither confirm nor deny the

 allegations regarding the individual’s purported watchlist status.

           235.   Denied.

           236.   Denied.

           237.   Denied.

           238.   Denied.

           239.   Denied.

           240.   Defendants admit that the federal government must make a nomination in accordance

 with established nomination policies. Defendants can neither admit nor deny the allegations in the

 second sentence of this paragraph because the information at issue is protected from disclosure by

 statute    and    privileges,   but   to   the    extent   related   information   is   available   at

 https://www.gao.gov/assets/gao-08-110.pdf, the document is the best evidence of this information.

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         241.    Defendants lack information sufficient to form a belief as to the truth of the allegations

 in this paragraph and, on that basis, deny them.

         242.    Defendants lack information sufficient to form a belief as to the truth of the allegations

 in this paragraph and, on that basis, deny them.

         243.    Defendants lack information sufficient to form a belief as to the truth of the allegations

 in this paragraph and, on that basis, deny them.

         244.    Defendants lack information sufficient to form a belief as to the truth of the allegations

 in this paragraph and, on that basis, deny them.

                           CBP Policies Violate the Constitutional Rights
                                         of TSDB Listees

         245.    Denied.

         246.    Admitted.

         247.    Defendants admit that the TSDS contains identifying information. Defendants deny

 the remaining allegations in this paragraph.

         248.    Admitted.

         249.    Denied.

         250.    Defendants admit that all travelers are queried against U.S. Government systems,

 including TECS, prior to entry into the United States. Defendants also admit that TECS includes

 TSDS information. Defendants deny the remaining allegations in this paragraph.

         251.    Defendants admit that commercial air carriers are required to provide to CBP advance

 passenger information regarding passengers traveling on a flight to or from the United States prior to

 the arrival or departure of the flight, and that APIS is an electronic data interchange system that allows

 carriers to transmit traveler data to CBP. Defendants deny the remaining allegations in this paragraph.




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        252.       Defendants admit that CBP may conduct additional screening and questioning of

 individual passengers at preclearance, immigration advisory program, and joint security program

 locations. Defendants deny the remaining allegations in this paragraph.

        253.       Admitted.

        254.       Defendants admit that derogatory information is not available to CBP officers at ports

 of entry. Defendants deny the remaining allegations contained in this paragraph.

        255.       Defendants admit that the National Targeting Center (“NTC”) is a component of the

 CBP’s Office of Field Operations (see 6 U.S.C. § 211(g)(4)) and that CBP, including NTC personnel,

 coordinate with the TSC in appropriate circumstances. Defendants deny the remaining allegations in

 this paragraph.

        256.       Defendants can neither admit nor deny the allegations in this paragraph because the

 information at issue is protected from disclosure by statute and privileges.

        257.       Denied.

        258.       Denied.

        259.       Defendants admit that CBP officers may refer TSDS listees to secondary inspection

 and the TSDS listees may be compelled as a matter of process to provide biometric fingerprints.

 Defendants deny the remaining allegations in this paragraph.

        260.       Defendants admit that, under CBP policy CBP officers may handcuff a TSDS listee

 before their referral to secondary inspection if they determine that restraints are reasonably necessary

 under the totality of circumstances. Defendants also admit that under CBP policy the use of restraints

 on detainees must be in a manner that is safe, secure, humane, and professional. Defendants deny the

 remaining allegations in the paragraph.

        261.       Denied.




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         262.    The allegations in this paragraph purport to reference statements in a policy document.

 That document is the best evidence of its contents, and Defendants deny any inconsistent

 characterization.

         263.    Denied. In addition, to the extent allegations in this paragraph purport to reference

 statements in a policy document, that document is the best evidence of its contents, and Defendants

 deny any inconsistent characterization.

         264.    Denied.

         265.    Defendants lack information sufficient to form a belief as to the truth of the allegations

 in this paragraph and, on that basis, deny them.

         266.    Denied.

                                        Dr. Osama Abu Irshaid

         267.    Defendants lack information sufficient to form a belief as to the truth of the allegations

 in this paragraph and, on that basis, deny them.

 Past Watchlist Treatment

         268.    Defendants can neither admit nor deny the allegations in the first sentence of this

 paragraph, as the watchlist status of particular individuals is protected from disclosure by statute and

 privileges. Defendants lack information sufficient to form a belief as to the truth of the allegations in

 the second sentence of this paragraph and, on that basis, deny them.

         269.    Defendants deny that a boarding pass stamped with “SSSS” means that a traveler has

 been designated as a “known or suspected terrorist.” Defendants lack information sufficient to form

 a belief as to the truth of the remaining allegations in this paragraph and, on that basis, deny them.

         270.    Defendants lack information sufficient to form a belief as to the truth of the allegations

 in this paragraph and, on that basis, deny them.




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         271.    Defendants lack information sufficient to form a belief as to the truth of the allegations

 in this paragraph and, on that basis, deny them.

         272.    Defendants lack information sufficient to form a belief as to the truth of the allegations

 in this paragraph and, on that basis, deny them.

         273.    Defendants can neither admit nor deny the allegations in this paragraph regarding

 Plaintiff Abu Irshaid’s watchlist placement, as the watchlist status of particular individuals is protected

 from disclosure by statute and privileges. Defendants lack information sufficient to form a belief as

 to the truth of the remaining allegations in this paragraph and, on that basis, deny them.

         274.    Defendants can neither admit nor deny the allegations in this paragraph regarding

 Plaintiff Abu Irshaid’s watchlist placement, as the watchlist status of particular individuals is protected

 from disclosure by statute and privileges. Defendants lack information sufficient to form a belief as

 to the truth of the remaining allegations in this paragraph and, on that basis, deny them.

         275.    Defendants can neither admit nor deny the allegations in this paragraph regarding

 Plaintiff Abu Irshaid’s watchlist placement, as the watchlist status of particular individuals is protected

 from disclosure by statute and privileges. Defendants lack information sufficient to form a belief as

 to the truth of the remaining allegations in this paragraph and, on that basis, deny them.

 Dr. Abu Irshaid Placed on Watchlist Again in 2024

         276.    Defendants can neither admit nor deny the allegations in this paragraph, as the

 watchlist status of particular individuals is protected from disclosure by statute and privileges.

         277.    Defendants can neither admit nor deny the allegations in this paragraph regarding

 Plaintiff Abu Irshaid’s watchlist placement, as the watchlist status of particular individuals is protected

 from disclosure by statute and privileges. Defendants lack information sufficient to form a belief as

 to the truth of the remaining allegations in this paragraph and, on that basis, deny them.

         278.    Denied.

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         279.    Denied.

         280.    Admitted.

         281.    Defendants neither confirm nor deny the allegations in this paragraph because the

 existence or nonexistence of that information in Defendants’ possession is protected by statute and

 privileges.

         282.    Defendants can neither admit nor deny the allegations in this paragraph regarding

 Plaintiff Abu Irshaid’s watchlist placement, as the watchlist status of particular individuals is protected

 from disclosure by statute and privileges. Defendants deny that a boarding pass stamped with “SSSS”

 means that a traveler has been designated as a “known or suspected terrorist.” Defendants lack

 information sufficient to form a belief as to the truth of the remaining allegations in this paragraph

 and, on that basis, deny them. Defendants neither confirm nor deny the remainder of the allegations

 in this paragraph because the existence or nonexistence of that information in Defendants’ possession

 is protected by statute and privileges.

         283.    Defendants neither confirm nor deny the allegations in this paragraph because the

 existence or nonexistence of that information in Defendants’ possession is protected by statute and

 privileges.

         284.     Defendants neither confirm nor deny the allegations in this paragraph because the

 existence or nonexistence of that information in Defendants’ possession is protected by statute and

 privileges.

         285.    Defendants lack information sufficient to form a belief as to the truth of the allegations

 in this paragraph and, on that basis, deny them.

         286.    Admitted.

         287.    Defendants lack information sufficient to form a belief as to the truth of the allegations

 in this paragraph and, on that basis, deny them.

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        288.    Defendants deny that a boarding pass stamped with “SSSS” means that a traveler has

 been designated as a “known or suspected terrorist.” Defendants neither confirm nor deny the

 remainder of the allegations in this paragraph because the existence or nonexistence of that

 information in Defendants’ possession is protected by statute and privileges.

        289.    Defendants admit that CBP encountered Plaintiff Abu Irshaid at IAD and referred to

 him as “Dr. O.” Defendants lack information sufficient to form a belief as to the truth of the

 remaining allegations in this paragraph and, on that basis, deny them.

        290.    Defendants admit that CBP escorted Plaintiff Abu Irshaid from the primary inspection

 area to secondary inspection for questioning regarding his travel. Defendants lack information

 sufficient to form a belief as to the truth of the remaining allegations in this paragraph and, on that

 basis, deny them.

        291.    Defendants admit that CBP questioned Plaintiff Abu Irshaid regarding his overseas

 relationships. Defendants lack information sufficient to form a belief as to the truth of the remaining

 allegations in this paragraph and, on that basis, deny them.

        292.    Defendants lack information sufficient to form a belief as to the truth of the allegations

 in this paragraph and, on that basis, deny them.

        293.    Defendants admit that CBP questioned Plaintiff Abu Irshaid regarding his overseas

 travel. Defendants lack information sufficient to form a belief as to the truth of the remaining

 allegations in this paragraph and, on that basis, deny them.

        294.    Defendants lack information sufficient to form a belief as to the truth of the allegations

 in this paragraph and, on that basis, deny them.

        295.    Defendants lack information sufficient to form a belief as to the truth of the allegations

 in this paragraph and, on that basis, deny them.




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        296.    Defendants admit that, during this encounter, Plaintiff Abu Irshaid stated that he

 deleted information from one cell phone with which he traveled. Defendants lack information

 sufficient to form a belief as to the truth of the remaining allegations in this paragraph and, on that

 basis, deny them.

        297.    Defendants lack information sufficient to form a belief as to the truth of the allegations

 in this paragraph and, on that basis, deny them.

        298.    As to the first sentence, Defendants deny the allegations. Defendants lack information

 sufficient to form a belief as to the truth of the remaining allegations in this paragraph and, on that

 basis, deny them.

        299.    As to the first clause of this paragraph (“Agent . . . phone”), Defendants deny the

 allegations. Defendants lack information sufficient to form a belief as to the truth of the remaining

 allegations in this paragraph and, on that basis, deny them.

        300.    Defendants admit that CBP detained Plaintiff Abu Irshaid’s cell phone as part of the

 secondary inspection and provided him with a CBP Form 6051D, Detention Notice and Custody

 Receipt for Detained Property. Defendants lack information sufficient to form a belief as to the truth

 of the remaining allegations in this paragraph and, on that basis, deny them.

        301.    Defendants admit that, as of December 3, 2024, Plaintiff Abu Irshaid had not received

 his cell phone back, with the qualification that the phone was returned to him on December 24, 2024.

        302.    Defendants deny the allegations in the first sentence of this paragraph, averring that

 Plaintiff Abu Irshaid’s DHS TRIP inquiry was submitted on June 20, 2024. As to the allegations in

 the second sentence of this paragraph, Defendants admit only that at the time of the filing of the

 operative complaint, Plaintiff Abu Irshaid had not received a response to this inquiry.




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         303.    Defendants lack information sufficient to form a belief as to the truth of the allegations

 in this paragraph and, on that basis, deny them, with the qualification that the phone was returned to

 him on December 24, 2024.

         304.    The allegations in this paragraph concern a claim that has been dismissed. See Dkt. 45.

 Accordingly, no response is required. To the extent a response is required, the allegations are denied.

         305.    The allegations in this paragraph concern a claim that has been dismissed. See Dkt. 45.

 Accordingly, no response is required. To the extent a response is required, the allegations are denied.

         306.    Admitted.

         307.    Defendants lack information sufficient to form a belief as to the truth of the allegations

 in this paragraph regarding actions of airline personnel and, on that basis, deny them. Otherwise,

 Defendants neither confirm nor deny the allegations in this paragraph because the existence or

 nonexistence of that information in Defendants’ possession is protected by statute and privileges.

         308.    Defendants neither confirm nor deny the allegations in this paragraph because the

 existence or nonexistence of that information in Defendants’ possession is protected by statute and

 privileges.

         309.    Defendants deny that a boarding pass stamped with “SSSS” means that a traveler has

 been designated as a “known or suspected terrorist.” Defendants lack information sufficient to form

 a belief as to the truth of the allegations in this paragraph regarding actions of airline personnel and,

 on that basis, deny them. Otherwise, Defendants neither confirm nor deny the allegations in this

 paragraph because the existence or nonexistence of that information in Defendants’ possession is

 protected by statute and privileges.

         310.    Defendants lack information sufficient to form a belief as to the truth of the allegations

 in this paragraph and, on that basis, deny them.




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         311.    Defendants admit that CBP escorted Plaintiff Abu Irshaid to secondary inspection.

 Defendants lack information sufficient to form a belief as to the truth of the remaining allegations in

 this paragraph and, on that basis, deny them.

         312.    Denied.

         313.    Admitted.

         314.    Admitted.

         315.    Defendants admit that, during this encounter, CBP questioned Plaintiff Abu Irshaid

 regarding his travel. Defendants lack information sufficient to form a belief as to the truth of the

 remaining allegations in this paragraph and, on that basis, deny them.

         316.    As to the first sentence, Defendants deny the allegations. Defendants admit that

 Plaintiff Abu Irshaid stated, during this encounter, that he traveled with two devices because of a prior

 incident. Defendants lack information sufficient to form a belief as to the truth of the remaining

 allegations in this paragraph and, on that basis, deny them.

         317.    As to the first clause of this paragraph, Defendants deny the allegations; as to the

 remaining allegations, Defendants lack information sufficient to form a belief as to the truth of the

 allegations in this paragraph and, on that basis, deny them.

         318.    As to the first clause of this paragraph, Defendants deny the allegations; as to the

 remaining allegations, Defendants lack information sufficient to form a belief as to the truth of the

 allegations in this paragraph and, on that basis, deny them.

         319.    Defendants admit that CBP returned Plaintiff Abu Irshaid’s phone to him and allowed

 him to leave. Defendants lack information sufficient to form a belief as to the truth of the remaining

 allegations in this paragraph and, on that basis, deny them.

         320.    Defendants lack information sufficient to form a belief as to the truth of the allegations

 in this paragraph and, on that basis, deny them.

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         321.    Defendants can neither admit nor deny the allegations in this paragraph regarding

 Plaintiff Abu Irshaid’s watchlist placement, as the watchlist status of particular individuals is protected

 from disclosure by statute and privileges. Defendants lack information sufficient to form a belief as

 to the truth of the remaining allegations in this paragraph and, on that basis, deny them.

         322.    Defendants can neither admit nor deny the allegations in this paragraph regarding

 Plaintiff Abu Irshaid’s watchlist placement, as the watchlist status of particular individuals is protected

 from disclosure by statute and privileges. Defendants lack information sufficient to form a belief as

 to the truth of the remaining allegations in this paragraph and, on that basis, deny them.

         323.    Defendants lack information sufficient to form a belief as to the truth of the allegations

 in the second sentence of this paragraph and, on that basis, deny them. Otherwise, Defendants neither

 confirm nor deny the allegations in this paragraph because the existence or nonexistence of that

 information in Defendants’ possession is protected by statute and privileges.

                                           Mustafa Zeidan
                                         (No Fly List Plaintiff)

         324.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

         325.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

         326.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

         327.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

         328.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.



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        329.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        330.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        331.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        332.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        333.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        334.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        335.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        336.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        337.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        338.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        339.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        340.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

                                                  36
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        341.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        342.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        343.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        344.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

                                              John Doe

        345.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        346.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        347.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        348.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        349.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        350.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        351.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.




                                                  37
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        352.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        353.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        354.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        355.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        356.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        357.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        358.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        359.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        360.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        361.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        362.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        363.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

                                                  38
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        364.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        365.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        366.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        367.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        368.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        369.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        370.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        371.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        372.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        373.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        374.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        375.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

                                                  39
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        376.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        377.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        378.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        379.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        380.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        381.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        382.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        383.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        384.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        385.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        386.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        387.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

                                                  40
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        388.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        389.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        390.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        391.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        392.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        393.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        394.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        395.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        396.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        397.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        398.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        399.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

                                                  41
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                                           Hassan Zaarour

        400.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        401.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        402.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        403.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        404.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        405.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        406.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        407.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        408.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        409.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        410.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.




                                                  42
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        411.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        412.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        413.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        414.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        415.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        416.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        417.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        418.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        419.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        420.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        421.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        422.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

                                                  43
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        423.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        424.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        425.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        426.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        427.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        428.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        429.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        430.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        431.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        432.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        433.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        434.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

                                                  44
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        435.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        436.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        437.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        438.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        439.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        440.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        441.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        442.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

                                           Abbas Hageali

        443.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        444.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        445.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.




                                                  45
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        446.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        447.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        448.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        449.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        450.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        451.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        452.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        453.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        454.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        455.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        456.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        457.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

                                                  46
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        458.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        459.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        460.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        461.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        462.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        463.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        464.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        465.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        466.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        467.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        468.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        469.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

                                                  47
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        470.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        471.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        472.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        473.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        474.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        475.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        476.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        477.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        478.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        479.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        480.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        481.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

                                                  48
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        482.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        483.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        484.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        485.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        486.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

                                             Sharif Ayyad

        487.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        488.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        489.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        490.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        491.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        492.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.




                                                  49
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        493.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        494.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        495.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        496.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        497.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        498.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        499.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        500.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        501.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        502.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        503.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        504.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

                                                  50
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        505.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        506.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        507.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        508.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        509.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        510.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        511.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        512.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        513.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        514.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        515.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

        516.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

                                                  51
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         517.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

         518.    The allegations in this paragraph concern a party whose claims have been dismissed.

 See Dkt. 30. Accordingly, no response is required.

                                       COUNT I
       VIOLATION OF THE FOURTH AMENDMENT – ILLEGAL SEARCH AND
      SEIZURE OF PLAINTIFF OSAMA ABU IRSHAID’S ELECTRONIC DEVICES
                (Jurisdiction under 28 U.S.C. § 1331 and 5 U.S.C. § 702)

         519.    Defendants incorporate the foregoing responses as though fully set forth herein.

         520.    The facial claim brought on behalf of Plaintiff Abu Irshaid has been dismissed. See

 Dkt. 30. The remaining allegations in this paragraph constitute Plaintiff Abu Irshaid’s characterization

 of his claim, to which no response is required.

         521.    The allegations in this paragraph constitute legal conclusions, to which no response is

 required.

         522.    The allegations in this paragraph constitute legal conclusions, to which no response is

 required. The allegations in this paragraph also concern a claim that has been dismissed. See Dkt. 45.

         523.    Defendants deny the allegations in the first sentence of this paragraph. The allegations

 in the second sentence of this paragraph constitute legal conclusions, to which no response is required.

         524.    Denied.

         525.    Denied.

         526.    Denied.

         527.    The allegations in this paragraph concern a claim that has been dismissed. See Dkt. 45.

 In addition, the allegations are denied.

         528.    The allegations in this paragraph constitute legal conclusions, to which no response is

 required.



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        529.    The allegations in this paragraph constitute legal conclusions, to which no response is

 required.

        530.    The allegations in this paragraph constitute legal conclusions, to which no response is

 required.

        531.    The facial claim brought on behalf of Plaintiff Abu Irshaid has been dismissed. See

 Dkt. 30. The remaining allegations in this paragraph and the unnumbered paragraph beginning with

 WHEREFORE constitute Plaintiff Abu Irshaid’s characterization of his claim and the relief he seeks,

 to which no response is required.

                                     COUNT II
    VIOLATION OF PLAINTIFF OSAMA ABU IRSHAID’S FIFTH AMENDMENT—
                         SELF INCRIMINATION RIGHTS
               (Jurisdiction under 28 U.S.C. § 1331 and 5 U.S.C. § 702)

        532.    Defendants incorporate the foregoing responses as though fully set forth herein.

        533.    The allegations in this paragraph concern a claim that has been dismissed. See Dkt. 30.

 Accordingly, no response is required.

        534.    The allegations in this paragraph concern a claim that has been dismissed. See Dkt. 30.

 Accordingly, no response is required.

        535.    The allegations in this paragraph concern a claim that has been dismissed. See Dkt. 30.

 Accordingly, no response is required.

        536.    The allegations in this paragraph concern a claim that has been dismissed. See Dkt. 30.

 Accordingly, no response is required.

        537.    The allegations in this paragraph concern a claim that has been dismissed. See Dkt. 30.

 Accordingly, no response is required.

        538.    The allegations in this paragraph concern a claim that has been dismissed. See Dkt. 30.

 Accordingly, no response is required.



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        539.    The allegations in this paragraph and the unnumbered paragraph beginning with

 WHEREFORE concern a claim that has been dismissed. See Dkt. 30. Accordingly, no response is

 required.

                                    COUNT III
    VIOLATION OF THE FIFTH AMENDMENT—PROCEDURAL DUE PROCESS
              (Jurisdiction under 28 U.S.C. § 1331 and 5 U.S.C. § 702)
                                   (All Plaintiffs)

        540.    Defendants incorporate the foregoing responses as though fully set forth herein.

        541.    The allegations in this paragraph concern claims that have been dismissed. See Dkt. 30.

 Accordingly, no response is required.

        542.    The allegations in this paragraph concern claims that have been dismissed. See Dkt. 30.

 Accordingly, no response is required.

        543.    The allegations in this paragraph concern claims that have been dismissed. See Dkt. 30.

 Accordingly, no response is required.

        544.    The allegations in this paragraph concern claims that have been dismissed. See Dkt. 30.

 Accordingly, no response is required.

        545.    The allegations in this paragraph concern claims that have been dismissed. See Dkt. 30.

 Accordingly, no response is required.

        546.    The allegations in this paragraph concern claims that have been dismissed. See Dkt. 30.

 Accordingly, no response is required.

        547.    The allegations in this paragraph concern claims that have been dismissed. See Dkt. 30.

 Accordingly, no response is required.

        548.    The allegations in this paragraph concern claims that have been dismissed. See Dkt. 30.

 Accordingly, no response is required.

        549.    The allegations in this paragraph concern claims that have been dismissed. See Dkt. 30.

 Accordingly, no response is required.
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        550.    The allegations in this paragraph concern claims that have been dismissed. See Dkt. 30.

 Accordingly, no response is required.

        551.    The allegations in this paragraph concern claims that have been dismissed. See Dkt. 30.

 Accordingly, no response is required.

        552.    The allegations in this paragraph concern claims that have been dismissed. See Dkt. 30.

 Accordingly, no response is required.

        553.    The allegations in this paragraph concern claims that have been dismissed. See Dkt. 30.

 Accordingly, no response is required.

        554.    The allegations in this paragraph concern claims that have been dismissed. See Dkt. 30.

 Accordingly, no response is required.

        555.    The allegations in this paragraph concern claims that have been dismissed. See Dkt. 30.

 Accordingly, no response is required.

        556.    The allegations in this paragraph and the unnumbered paragraph beginning with

 WHEREFORE concern claims that have been dismissed. See Dkt. 30. Accordingly, no response is

 required.

                                    COUNT IV
    VIOLATION OF THE FIFTH AMENDMENT—SUBSTANTIVE DUE PROCESS
              (Jurisdiction under 28 U.S.C. § 1331 and 5 U.S.C. § 702)
                                 (Plaintiff Zeidan)

        557.    Defendants incorporate the foregoing responses as though fully set forth herein.

        558.    The allegations in this paragraph concern a claim that has been dismissed. See Dkt. 30.

 Accordingly, no response is required.

        559.    The allegations in this paragraph concern a claim that has been dismissed. See Dkt. 30.

 Accordingly, no response is required.

        560.    The allegations in this paragraph concern a claim that has been dismissed. See Dkt. 30.

 Accordingly, no response is required.
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        561.    The allegations in this paragraph concern a claim that has been dismissed. See Dkt. 30.

 Accordingly, no response is required.

        562.    The allegations in this paragraph concern a claim that has been dismissed. See Dkt. 30.

 Accordingly, no response is required.

        563.    The allegations in this paragraph concern a claim that has been dismissed. See Dkt. 30.

 Accordingly, no response is required.

        564.    The allegations in this paragraph and the unnumbered paragraph beginning with

 WHEREFORE concern a claim that has been dismissed. See Dkt. 30. Accordingly, no response is

 required.

                                    COUNT V
  VIOLATION OF THE ADMINISTRATIVE PROCEDURE ACT, 5 U.S.C.. [sic] § 706—
                         PLACEMENT AND REMOVAL
              (Jurisdiction under 28 U.S.C. § 1331 and 5 U.S.C. § 702)
                                   (All Plaintiffs)

        565.    Defendants incorporate the foregoing responses as though fully set forth herein.

        566.    The allegations in this paragraph concern claims that have been dismissed. See Dkt. 30.

 Accordingly, no response is required.

        567.    The allegations in this paragraph concern claims that have been dismissed. See Dkt. 30.

 Accordingly, no response is required.

        568.    The allegations in this paragraph concern claims that have been dismissed. See Dkt. 30.

 Accordingly, no response is required.

        569.    The allegations in this paragraph and the unnumbered paragraph beginning with

 WHEREFORE concern claims that have been dismissed. See Dkt. 30. Accordingly, no response is

 required.

                                    COUNT VI
     NO STATUTORY AUTHORITY TO CREATE, MAINTAIN THE WATCHLIST
              (Jurisdiction under 28 U.S.C. § 1331 and 5 U.S.C. § 702)
                                   (All Plaintiffs)
                                                  56
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         570.    Defendants incorporate the foregoing responses as though fully set forth herein.

         571.    The allegations in this paragraph concern claims that have been dismissed. See Dkt. 30.

 Accordingly, no response is required.

         572.    The allegations in this paragraph and the unnumbered paragraph beginning with

 WHEREFORE concern claims that have been dismissed. See Dkt. 30. Accordingly, no response is

 required.

                                        PRAYER FOR RELIEF

         Plaintiffs’ final paragraphs beginning with WHEREFORE represent their characterization of

 the relief they request, to which no response is required. To the extent that these paragraphs contain

 factual allegations to which a response is required, all allegations are denied. Defendants specifically

 deny all allegations of wrongdoing and that Plaintiffs are entitled to any relief whatsoever.

         Any allegation of the amended complaint not expressly admitted is denied.

                                     AFFIRMATIVE DEFENSES

         Based on the information presently available and known to Defendants, and without waiving,

 limiting, modifying, or amending the foregoing, Defendants assert the following affirmative defenses.

 Defendants reserve all rights to amend these defenses as appropriate as the case progresses:

         1.      Plaintiffs have failed to demonstrate standing.

         2.      Plaintiffs have failed to exhaust administrative remedies to the extent they have not

 fully utilized the DHS TRIP process.

         3.      Plaintiffs’ claims are barred by the statute of limitations to the extent that they did not

 bring suit “within six years after the right of action first accrues.” 28 U.S.C. § 2401(a).

         4.      Plaintiffs’ claims are barred by the doctrine of laches to the extent that they unduly

 delayed in bringing suit for the alleged violations.




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        5.      Plaintiffs’ claims are barred by the doctrine of unclean hands to the extent that

 Plaintiffs themselves have engaged in conduct contributing to the alleged violations.

        6.      Defendants reserve the right to raise any affirmative defense—including, but not

 limited to, those expressly found in Federal Rule of Civil Procedure 8(c)—that may be supported by

 the record.

        WHEREFORE, Defendants pray that this Court will enter judgment against Plaintiffs and for

 Defendants with costs and that Defendants shall have such other and further relief as shall be deemed

 appropriate.




 Dated: May 28, 2025                                    Respectfully submitted,

                                                        ERIK S. SIEBERT
                                                        UNITED STATES ATTORNEY

                                                By:                    /s/
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